Case 1:21-cv-00380-MSM-PAS Document 1-1 Filed 09/16/21 Page 1 of 7 PageID #: 5




                              EXHIBIT 1
Case 1:21-cv-00380-MSM-PAS Document 1-1 Filed 09/16/21 Page 2 of 7 PageID #: 6
Case 1:21-cv-00380-MSM-PAS Document 1-1 Filed 09/16/21 Page 3 of 7 PageID #: 7
Case 1:21-cv-00380-MSM-PAS Document 1-1 Filed 09/16/21 Page 4 of 7 PageID #: 8
Case 1:21-cv-00380-MSM-PAS Document 1-1 Filed 09/16/21 Page 5 of 7 PageID #: 9




                              EXHIBIT 2
Case Number: PC-2021-03189
Filed in Providence/Bristol County Superior Court
                  Case 1:21-cv-00380-MSM-PAS
Submitted: 8/31/2021 12:50 PM
                                                    Document 1-1 Filed 09/16/21 Page 6 of 7 PageID #: 10
Envelope: 3261616
Reviewer: Victoria H


               STATE OF RHODE ISLAND                                                 SUPERIOR COURT
               PROVIDENCE, SC

               GAIL DeSIMONE-TELLA                                   :
                                                                     :
               Vs.                                                   :       C.A. No. PC-2021-03189
                                                                     :
               ARAMARK MANAGEMENT SERVICES                           :
               LIMITED PARTNERSHIP                                   :

                                            PLAINTIFF’S RESPONSE TO
                                      DEFENDANT’S REQUEST FOR ADMISSIONS

                      Now comes the Plaintiff, GAIL DeSIMONE-TELLA, by and through her attorney, and

               hereby responds to Defendant’s Request for Admissions as follows:

               Request 1:

                      Plaintiff’s damages, if proven at trial, are valued at less than, or equal to, $75,000.00,

               exclusive of interest and costs.

               Response:

                      Denied.

               Request #2:

                      Plaintiff’s damages, if proven at trial, are valued in excess of $75,000.00, exclusive of

               interest and costs.

               Response:

                      Admitted.

                                                                     GAIL DeSIMONE-TELLA, Plaintiff,
                                                                     By and through her attorney,

                                                                     /s/ John J. DeSimone, Esq.
                                                                     John J. DeSimone, Esq., #3373
                                                                     DeSimone Law Offices
                                                                     735 Smith Street
                                                                     Providence, RI 02905
                                                                     Ph: (401) 454-1400 // Fax: (401) 454-1402
                                                                     Email: jjd@desimonelaw.net


                                                                1
Case Number: PC-2021-03189
Filed in Providence/Bristol County Superior Court
                  Case 1:21-cv-00380-MSM-PAS
Submitted: 8/31/2021 12:50 PM
                                                    Document 1-1 Filed 09/16/21 Page 7 of 7 PageID #: 11
Envelope: 3261616
Reviewer: Victoria H




                                                      CERTIFICATION

                      I hereby certify that on this 31st day of August, 2021, a true copy of the within document
               was electronically filed and served the parties of record: David A. Brosnihan, Esquire at
               dbrosnihan@chartwelllaw.com. This document will be available for download/and or viewing
               from the Rhode Island Judiciary’s electronic filing system.

                                                                           /s/ John J. DeSimone, Esq.




                                                               2
